           Case 2:24-cv-00559-ARR-ST Document 4 Filed 01/26/24 Page 1 of 2 PageID #: 17

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District of New York

                           Jose Mejia                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                V.                                          Civil Action No. 2:24-cv-00559-ARR-ST
                                                                    )
      Brick And Stone Masons, LTD., Paul Ribeiro                    )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To .. 1/D  ,,, d t'         d d',,
        • e1 en an s name an a uress
                                    ) Brick And
                                             . .Stone Masons, LTD. - 1025 Old Medford
                                                                                   .  .Avenue, Farmingville, New York 11738
           •                          Paul Ribeiro - 1025 Old Medford Avenue, Farm1ngv1lle, New York 11738




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: The NHG ~aw Group, P.C.
                                           4242 Merrick Road
                                           Massapequa, New York 11758
                                           (516) 228-5100




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT

              1/26/2024
Date:
                                                                                        Signature o
            Case 2:24-cv-00559-ARR-ST Document 4 Filed 01/26/24 Page 2 of 2 PageID #: 18

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                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                           ; or

          0 I returned the summons unexecuted because                                                                              ; or

          0 Other (specify):




          My fees are$                             for travel and $                  for services, for a total of$          0.00

          I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:
